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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. 06-167M
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )            DETENTION ORDER
                                          )
11   RYAN BROWN,                          )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Possession of Methamphetamine with Intent to Distribute

16 Date of Detention Hearing:     April 13, 2006

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Defendant is charged by Complaint with knowingly and intentionally possessing

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 500 grams or more or a mixture of substance containing methamphetamine with intent to

02 distribute.

03          (2)     Defendant’s criminal history includes convictions for carrying a concealed weapon,

04 trespass, and obstructing/resisting a public officer.

05          (3)     Defendant was not interviewed by Pretrial Services. He was born in California.

06 There is no additional information available regarding his personal history, residence, family ties,

07 ties to this district, income, financial assets or liabilities, physical/mental health or controlled

08 substance use if any.

09          (4)     Defendant does not contest detention.

10          (5)     Defendant poses a risk of nonappearance because of unknown background

11 information, and unknown ties to this district. He poses a risk of danger due to his criminal history

12 and the nature of the instant offense.

13          (6)     There does not appear to be any condition or combination of conditions that will

14 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

15 to other persons or the community.

16 It is therefore ORDERED:

17          (1)     Defendant shall be detained pending trial and committed to the custody of the

18                  Attorney General for confinement in a correction facility separate, to the extent

19                  practicable, from persons awaiting or serving sentences or being held in custody

20                  pending appeal;

21          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

22                  counsel;

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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01         (3)   On order of a court of the United States or on request of an attorney for the

02               Government, the person in charge of the corrections facility in which defendant is

03               confined shall deliver the defendant to a United States Marshal for the purpose of

04               an appearance in connection with a court proceeding; and

05         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

06               counsel for the defendant, to the United States Marshal, and to the United States

07               Pretrial Services Officer.

08         DATED this 13th day of April , 2006.



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10                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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